
Claimant has appealed from a judgment of the Court of Claims dismissing her claim on the ground that her intestate was guilty of contributory negligence. The claim arose out of an accident which occurred on July 31, 1934, on the State highway between Bloomingdale and Saranac Lake, as a result of which claimant’s intestate was killed. The claim, with two companion cases, was tried in 1936, and the Court of Claims dismissed all the claims. An appeal was taken to this court and the judgments were reversed (257 App. Div. 699). Later the Court of Claims made an award in the two companion cases. In the case at bar the claim was dismissed. The evidence sustains the finding of the court below. Judgment unanimously affirmed, without costs. Present — Hill, P. J., Bliss, Heffernan, Schenck and Foster, JJ.
